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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


 VERITEXT CORP.,                                   CIVIL ACTION NO. 16-13903
                                                   c/w Civil Action No. 17-9877
                        Plaintiff
                                                   JUDGE IVAN L.R. LEMELLE
         v.
                                                   MAG. JUDGE JOSEPH C. WILKINSON
 JOHN J. LEE, JR., ET AL.
                                                    SECTION “B”(2)
                        Defendants.

                                                    Filing Applies to ALL CASES




PLAINTIFFS ESQUIRE DEPOSITION SOLUTIONS, LLC’S AND VERITEXT CORP.’S
             STATEMENT OF CONTESTED MATERIAL FACTS

         Plaintiffs Esquire Deposition Solutions, LLC (“Esquire”) and Veritext Corp. (“Veritext”)

submit the following Statement of Contested Material Facts in further opposition to the

Louisiana Board of Examiners of Certified Shorthand Reporters (the “CSR Board”) Defendants’

Motion for Partial Summary Judgment. See R. Doc. No. 141. This Statement of Contested

Material Facts supplements Plaintiffs’ Opposition to the CSR Board Defendants’ Motion for

Partial Summary Judgment and supporting declarations and exhibits. R. Doc. No. 159.

       1.       Veritext and Esquire contest Undisputed Material Fact 1. The services provided

by Plaintiffs are fully described in the declarations and exhibits filed in support of Plaintiffs’

Opposition to the CSR Board Defendants’ Motion for Partial Summary Judgment.

       2.       Veritext and Esquire contest Undisputed Material Fact 2.           The assertion

constitutes a legal conclusion and, therefore, no response is required, but the services provided



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by Plaintiffs are fully described in the declarations and exhibits filed in support of Plaintiffs’

Opposition to the CSR Board Defendants’ Motion for Partial Summary Judgment.

       3.       Veritext and Esquire contest Material Fact 3. The assertion constitutes a legal

conclusion and, therefore, no response is required, but the services provided by Plaintiffs are

fully described in the declarations and exhibits filed in support of Plaintiffs’ Opposition to the

CSR Board Defendants’ Motion for Partial Summary Judgment.



                                              Respectfully submitted,


                                              /s/ Alexander N. Breckinridge, V
                                              MARK A. CUNNINGHAM, T.A. (# 24063)
                                              ALEXANDER N. BRECKINRIDGE, V (# 36155)
                                              JONES WALKER LLP
                                              201 St. Charles Avenue, Suite 5100
                                              New Orleans, Louisiana 70170-5100
                                              Telephone: (504) 582-8000
                                              Facsimile: (504) 582-8583
                                              mcunningham@joneswalker.com
                                              abreckinridge@joneswalker.com

                                              Attorneys for Plaintiff, Veritext Corp.



                                 CERTIFICATE OF SERVICE

         I hereby certify that a copy of the above and foregoing has been served on all parties or

their attorneys by providing the same by electronic mail, on this 20th day of November, 2019.



                                              /s/ Alexander N. Breckinridge, V




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